                              NO.  07-12-0157-CV
	IN THE COURT OF APPEALS
	FOR THE SEVENTH DISTRICT OF TEXAS
	AT AMARILLO
	PANEL E
	JULY 25, 2012
	___________________________
	FORTINO PEREYA,
									Appellant
	v.

                            THE CITY OF CHILDRESS, 
                                       
									Appellee							___________________________
	FROM THE COUNTY COURT OF CHILDRESS COUNTY;
	NO. 2168; HON. JAY MAYDEN, PRESIDING
                          __________________________
                              Order of Dismissal
                          __________________________
Before QUINN, C.J., CAMPBELL, J., and BOYD, S.J.
Fortino Pereya filed a notice of appeal on May 2, 2012.  We dismiss the appeal.  The clerk's and reporter's records were filed on June 1, 2012.   Appellant's brief was due on July 5, 2012.  No brief was filed by that date, so the Court notified appellant on July 13, 2012, that the due date for the brief had lapsed, that the brief had not been filed, and that if it was not received by July 23, 2012, the appeal would be dismissed for want of prosecution.  To date, no brief or motion to extend the deadline has been filed. 
Accordingly, we dismiss the appeal for want of prosecution. Tex. R. App. P.  38.8(a)(1); 42.3(b).
Per Curiam
